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                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

  In Re:                          §
                                  §
  CORRIDOR MEDICAL SERVICES, INC. §
  Et al.                          §                     Case No. 18-11569-hcm
                                  §                           (Chapter 11)
         Debtor.                  §
                                  §

  CORRIDOR MEDICAL SERVICES, INC. §
  a Texas corporation,            §
                                  §
         Plaintiff                §                     Adv. No. 20-01012
  v.                              §
                                  §
  GTR SOURCE, LLC,                §
                                  §
                                  §
         Defendants               §

                            PLAINTIFF’S STATEMENT OF CONSENT

  TO THE HONORABLE U.S. BANKRUPTCY COURT:

    COMES NOW CORRIDOR MEDICAL SERVICES, Plaintiff, and files this Statement of
  Consent and would show as follows:
           Corridor Medical Services consents to entry of final orders by this court.



                                                 Respectfully submitted,

                                                 BARRON & NEWBURGER, P.C.
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                                                 /s/ R.J. Shannon____________
                                                 R. J. Shannon (SBN 24108062)

                                                 ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

                   By my signature below, I hereby certify service of the foregoing document by
  first class mail on the 4th day of March, 2020, to the following:



                                            /s/ R.J. Shannon
